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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

TRESALYN BUTLER-SHARP,

                       Plaintiff,
       v.                                               Civil Action 2:23-cv-3989
                                                        Judge Michael H. Watson
                                                        Magistrate Judge Elizabeth P. Deavers
FRANKLIN COUNTY SHERIFF’S
OFFICE,

                       Defendant.


                             PRELIMINARY PRETRIAL ORDER

       Based upon the parties’ Report pursuant to Rule 26(f) of the Federal Rules of Civil

Procedure, the Court ADOPTS the following schedule:

INITIAL DISCLOSURES

Any initial disclosures shall be made by MARCH 29, 2024.

VENUE AND JURISDICTION

There are no issues related to venue or jurisdiction.

PARTIES AND PLEADINGS

Any motion to amend the pleadings or to join additional parties shall be filed by MAY 24, 2024.

ISSUES

This is an action brought pursuant to Title VII of the Civil Rights Act of 1964, U.S.C. § 2000e, et
seq, and the Ohio Laws Against Discrimination, R.C. Chapter 4112. Plaintiff sets forth claims of
gender and sexual orientation discrimination. Plaintiff seeks recovery of back pay and benefits,
statutory liquidated damages, expert witness fees and attorneys’ fees and costs, and front pay,
compensatory damages and punitive damages. Defendant denies all claims and has asserted
affirmative defenses.

There is a jury demand.
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DISCOVERY PROCEDURES

All discovery shall be completed by SEPTEMBER 3, 2024. For purposes of complying with
this order, all parties shall schedule their discovery in such a way as to require all responses to
discovery to be served prior to the cut-off date and shall file any motions relating to discovery
within the discovery period unless it is impossible or impractical to do so. If the parties are
unable to reach an agreement on any matter related to discovery, they are directed to arrange
a conference with the Court.

The parties agree to produce ESI in the format reasonably agreed to by the parties.

DISPOSITIVE MOTIONS

Any dispositive motion shall be filed by OCTOBER 18, 2024.

EXPERT TESTIMONY

Primary expert reports must be produced by JULY 9, 2024. Rebuttal expert reports must be
produced by AUGUST 6, 2024. If the expert is specifically retained, the reports must conform to
Fed. R. Civ. P. 26(a)(2)(B), unless otherwise agreed to by the parties. If the expert is not
specifically retained, the reports must conform to Fed. R. Civ. P. 26(a)(2)(C), unless otherwise
agreed to by the parties. Pursuant to Fed. R. Civ. P. 26(b)(4)(A), leave of court is not required to
depose a testifying expert.

SETTLEMENT

Plaintiff shall make a settlement demand by MAY 27, 2024. Defendants shall respond within 30
days after Plaintiffs’ demand. The parties agree to make a good faith effort to settle this case.
The parties understand that this case will be referred to an attorney mediator, or to the Magistrate
Judge, for a settlement conference in JULY 2024. In order for the conference to be meaningful,
the parties agree to complete all discovery that may affect their ability to evaluate this case prior
to the settlement conference. The parties understand that they will be expected to comply fully
with the settlement order which requires inter alia that settlement demands and offers be
exchanged prior to the conference and that principals of the parties attend the conference.

OTHER MATTERS

None.
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       If the foregoing does not accurately record the matters considered and the agreements

reached at the conference, counsel will please immediately make their objection in writing. If

any date set in this order falls on a Saturday, Sunday or legal holiday, the date is automatically

deemed to be the next regular business day.

       IT IS SO ORDERED.



Date: February 17, 2024                       /s/ Elizabeth A. Preston Deavers_________
                                              ELIZABETH A. PRESTON DEAVERS
                                              UNITED STATES MAGISTRATE JUDGE
